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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION


JENE W. OWENS, SR.,                            *
                                               *
       Plaintiff,                              *
                                               *
VS.                                            *      CASE NO.: 12-00005
                                               *
                                               *
DCM SERVICES, LLC, and                         *
OMNICARE-UNICARE, INC.,                        *
                                               *
       Defendant.                              *

                                    NOTICE OF DISMISSAL

       COMES NOW Plaintiff, Jene W. Owens, Sr., and. pursuant to Rule 41 (a)( 1 )(A)(i) of the

Federal Rules of Civil Procedure hereby provides this NOTICE of the DISMISSAL of this action

with prejudice.




                                               /s/ Kenneth J. Riemer
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                                  CERTIFICATE OF SERVICE

         I do hereby certify that I have on this the 16th day of February, 2012 I electronically filed
the foregoing with the Clerk of the Court using the CM/ECF system which will send notification of
filing to all counsels of record.


                                                /s/ Kenneth J. Riemer
                                                KENNETH J. RIEMER
